Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 1 of 8 PageID #: 629
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 2 of 8 PageID #: 630
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 3 of 8 PageID #: 631
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 4 of 8 PageID #: 632
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 5 of 8 PageID #: 633
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 6 of 8 PageID #: 634
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 7 of 8 PageID #: 635
Case: 3:15-cr-00048-MPM-RP Doc #: 176 Filed: 02/02/17 8 of 8 PageID #: 636
